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32474-1
               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

SUNIL BHATIA, Individually, and derivatively        )
On behalf of MEDVALUE OFFSHORE                      )      Case No. 18-cv-02387
SOLUTIONS, INC.,                                    )
                                                    )
              Plaintiff,                            )      Hon. Robert M. Dow Jr., Presiding
                                                    )
              v.                                    )
                                                    )
RAJU VASWANI, an individual, KARAN                  )
VASWANI, an individual, and ASSIVO, INC.            )
(f/k/a MV OUTSOURCING, INC.), an Illinois           )
Corporation,                                        )
                                                    )
              Defendants.                           )

  DEFENDANT, RAJU VASWANI’S, UNOPPOSED MOTION FOR EXTENSION OF
 TIME TO FILE HIS AMENDED MOTION FOR PARTIAL SUMMARY JUDGMENT,
 AMENDED STATEMENT OF MATERIAL FACTS IN SUPPORT OF HIS AMENDED
       MOTION FOR PARTIAL SUMMARY JUDGMENT, AND AMENDED
        MEMORANDUM OF LAW IN SUPPORT OF HIS MOTION FOR
                    PARTIAL SUMMARY JUDGMENT

       NOW COMES Defendant, Raju Vaswani (“Raju”), by and through his undersigned

counsel, and for his Unopposed Motion for Extension of Time to file his Amended Motion for

Partial Summary Judgment, Amended Statement of Material Facts in Support of His Amended

Motion for Partial Summary Judgment, and Amended Memorandum of Law in Support of His

Amended Motion for Partial Summary Judgment, states as follows:

                   Procedural and Factual History Prior to Filing Partial MSJ

   1. Raju filed his Motion for Partial Summary Judgment on July 24, 2020 (Dkt No. 167), and

his Memorandum of Law and Statement of Material Facts in support of his Motion for Partial

Summary Judgment on July 22, 2020 (Dkt. No. 163 and 165) (collectively, the “Partial MSJ”).

The Partial MSJ is a targeted motion relative to Counts I through IV of Plaintiff, Sunil Bhatia’s
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(“Sunil”), Second Amended Complaint (“SAC”) (Dkt. No. 44), that demonstrates MedValue does

not own the alleged “MV Outsourcing” trademark or the alleged trade secrets. The motion is based

on the fact that in his response to a single interrogatory and his initial response to court ordered

discovery under this Court’s Mandatory Initial Discovery Program (“MIDP”), Sunil has failed to

prove that MedValue owns the alleged trademark “MV Outsourcing” or owns any trade secrets.

                      Procedural and Factual History After Filing Partial MSJ

    2. On September 23, 2020, two (2) months after Raju filed his Partial MSJ, Sunil filed a

Motion to Reopen Discovery (Dkt. No. 199). In that motion, Sunil explicitly admitted that

“Defendant Raju Vaswani (herein “Raju”) is not a competitor to MedValue, but rather an

officer, director and shareholder of MedValue.” (Dkt. No. 199, p. 2, ¶ 3) (emphasis added). This

is a crucial admission, especially with regard to Counts I and II of the SAC where. MedValue

seeks an injunction and monetary damages1 against Raju and co-defendants, Karan Vaswani

(“Karan”) and Assivo, Inc. (“Assivo).

    3. On October 23, 2020, Raju sent correspondence to Sunil, pursuant to FRCP 37, regarding

his deficient responses to the court-ordered mandatory initial discovery. A copy of said

correspondence is attached hereto as Exhibit 1. This correspondence demonstrates that Sunil’s

MIDP Initial Disclosures dated February 7, 2020, are deficient in that they do not disclose any

documents, any specific facts relevant to each claim or defense, any legal theories relevant to each

claim or defense, or any computation of damages including the underlying damages

documentation. The lack of the aforesaid documents and information supports Raju’s contention,

as more fully discussed in the Partial MSJ, that Sunil cannot establish ownership of the alleged

“MV Outsourcing” trademark or the alleged trade secrets.


1
  It is worth noting that obtaining an injunction is not a legal possibility especially since MV Outsourcing, Inc. changed
its name to Assivo, Inc. more than two (2) years ago.
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   4. The lack of information and documents begs the question that if MedValue does not own

the alleged trademark and does not own the alleged trade secrets, then how can anyone

misappropriate them? The burden of proof is on Sunil to first prove ownership before he seeks

discovery to prove alleged misappropriation.

   5. Sunil should not need discovery to prove MedValue’s ownership of its own intellectual

property, if it exists. It is worth noting that Sunil should have had all the facts and evidence in his

possession before filing this lawsuit as it relates to ownership of MedValue’s alleged trademark

and trade secrets. Additionally, Sunil’s attorneys should have this information if they had

undertaken proper inquiry as mandated by FRCP 11. In the FRCP 37 correspondence, Raju

essentially asked Sunil to produce the required information and documents by October 30, 2020,

or admit that he cannot do so.

   6. Additionally, on October 23, 2020, Sunil again supplemented his response to Karan and

Assivo’s targeted three-question interrogatory that was served on Sunil over a year ago. Sunil’s

most recent response to Karan and Assivo’s interrogatory is equally devoid of facts demonstrating

how the alleged trade secrets are in fact trade secrets under applicable laws.

   7. Most noteworthy, Sunil’s recent supplemental response to the interrogatory, which he

verified under oath, contains another crucial admission that entitles Raju to summary judgment on

Counts III and IV of the SAC: MedValue granted access to its alleged trade secret information

to four parties and failed to secure non-disclosure agreements from three of the four parties

before granting access.

   8. On October 27, 2020, Raju produced e-mails and related documents that demonstrate that

MedValue’s alleged trade secrets were freely and frequently passed around via e-mail without
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passwords or encryption, including by New Jupiter Media, the only party that signed a non-

disclosure agreement with MedValue.

                        Reasons for the Request for an Extension of Time

    9. At the hearing on October 20, 2020, Raju was granted leave to file a revised Partial MSJ

within seven (7) days, or on or before, October 27, 2020 (Dkt. No. 211). However, as discussed

herein, following the hearing, numerous crucial and undisputed material facts have surfaced. For

that reason, Raju requires additional time to amend the Partial MSJ to discuss in more detail the

following:

Trademark Infringement and Unfair Competition Claims (Counts I and II)

•   Raju is not a competitor of MedValue but its Chairman & CEO;

•   MedValue lacks standing under the Lanham Act;

•   MedValue never sold services to a single customer using the name “MV Outsourcing”, which

    Sunil claims is MedValue’s alleged trademark. In other words, this fact proves that “MV

    Outsourcing” was never “used in interstate commerce,” a requirement of trademark law; and,

•   Sunil admits in his SAC that MV Outsourcing, Inc. has changed its name to Assivo, Inc. and

    has ceased to use the name since June, 2018, after MedValue demanded it do so. Therefore, an

    injunction is a legal impossibility.

Defend Trade Secrets Act & Illinois Trade Secrets Act (Counts III and IV)

•   MedValue failed to protect its alleged trade secrets in that MedValue did not require everyone

    with access to the alleged trade secrets to first sign a non-disclosure agreement before

    providing access;

•   MedValue failed to store the alleged trade secret information under physical or virtual “lock

    and key”. Information allegedly constituting the alleged trade secrets was freely shared via e-
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    mail with no encryption or “confidential” designation, and resided on various laptops and

    mobile devices without passwords or encryption; and,

•   Publicly available information or information that can be obtained by anyone in the industry

    by legal means cannot qualify as trade secrets. Sunil has never even alleged in his SAC that

    this information cannot be obtained by legal means. The sine qua non of information

    constituting a trade secret is that it is not publicly known in the industry and cannot be obtained

    by legal means. The burden of proof is on Sunil to prove this. To date, Sunil has failed to allege

    this, much less prove it.

    10. On October 27, 2020, via e-mail exchange, Sunil’s counsel agreed to an extension of time

of thirty-five (35) days for the filing of an amended Partial MSJ.

    11. This is Raju’s first request for an extension of time to file an amended Partial MSJ.

    12. Federal Rule of Civil Procedure 6(b)(1) provides that “[w]hen an act may or must be done

within a specified time, the court may, for good cause, extend the time: (A) With or without motion

or notice if the court acts, or if a request is made, before the original time or its extension expires.”

    13. In this case, given the events that have transpired since Raju filed the Partial MSJ and the

October 20, 2020 hearing, good cause exists for the extension sought.

        WHEREFORE, Defendant, Raju Vaswani, respectfully requests that this Honorable Court

grant an extension of 35 days for the filing of Defendant, Raju Vaswani’s, Amended Motion for

Partial Summary Judgment, Amended Statement of Material Facts in Support of His Amended

Motion for Partial Summary Judgment, and Amended Memorandum of Law in Support of His

Amended Motion for Partial Summary Judgment, and award such other and further relief as is

equitable and just.
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                                      Respectfully submitted,

                                      RAJU VASWANI

                                      By: /s/ Thomas A. Christensen
                                          One of His Attorneys

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                                  CERTIFICATE OF FILING AND SERVICE

          I, Thomas A. Christensen, certify as follows under penalty of perjury this 27th day of

October, 2020:

          1.         I filed Defendant, Raju Vaswani's, Motion for Extension of Time to File His

Amended Motion for Partial Summary Judgment, Amended Statement of Material Facts in Support

of His Amended Motion for Partial Summary Judgment, and Amended Memorandum of Law in

Support of His Motion for Partial Summary Judgment, by filing it with the Clerk of the Court via

electronic means on October 27, 2020.

          2.         I served Defendant, Raju Vaswani's, Motion for Extension of Time to File His

Amended Motion for Partial Summary Judgment, Amended Statement of Material Facts in Support

of His Amended Motion for Partial Summary Judgment, and Amended Memorandum of Law in

Support of His Motion for Partial Summary Judgment, by filing it with the Clerk of the Court via

electronic means, which electronic filing constitutes service by virtue of local rule 5.9.

                                                               /s/ Thomas A. Christensen



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                                                                    EXHIBIT 1
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